                               ***********
Based on Defendant's failure to file a Form 44 or a Brief, it is hereby further ORDERED sua sponte that Defendant's appeal to the Full Commission should be, and hereby is, DISMISSED WITH PREJUDICE. See Rule T304 of the Tort Claims Rules of the North Carolina Industrial Commission. Defendant SHALL pay costs.
This the __ day of June 2011.
  S/___________________ PAMELA T. YOUNG CHAIR
CONCURRING: *Page 2 
  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
  S/___________________ CHRISTOPHER SCOTT COMMISSIONER *Page 1 